Case 2:20-cv-10392-SJM-MJH ECF No. 19, PageID.95 Filed 07/28/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

DISPLAY TECHNOLOGIES, LLC,
                                               Case No. 2:20-cv-10392
            Plaintiff,
                                               HONORABLE STEPHEN J. MURPHY, III
v.

ALPINE ELECTRONICS OF
AMERICA, INC.,

            Defendant.
                                       /

                 ORDER ADOPTING STIPULATION [18]
              AND DISMISSING THE CASE WITH PREJUDICE

      On July 22, the Court dismissed the case without prejudice and ordered the

parties to submit a proposed, stipulated order dismissing the case with prejudice no

later than July 30, 2020. ECF 17. On July 23, 2020, the parties filed a stipulation

agreeing to dismiss the complaint with prejudice and to dismiss Defendant's first

counterclaim with prejudice and second counterclaim without prejudice. ECF 18.

      WHEREFORE, it is hereby ORDERED that the parties' stipulation [18] is

ADOPTED.

      IT IS FURTHER ORDERED that the complaint and Defendant's first

counterclaim are DISMISSED WITH PREJUDICE.




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Case 2:20-cv-10392-SJM-MJH ECF No. 19, PageID.96 Filed 07/28/20 Page 2 of 2




      IT IS FURTHER ORDERED that Defendant's second counterclaim is

DISMISSED WITHOUT PREJUDICE.

      SO ORDERED.



                                     s/ Stephen J. Murphy, III
                                     STEPHEN J. MURPHY, III
                                     United States District Judge
Dated: July 28, 2020

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on July 28, 2020, by electronic and/or ordinary mail.

                                     s/ David P. Parker
                                     Case Manager




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